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                         THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

                                                          RECEIVED
KANDACE KAY EDWARDS, on behalf
of herself and all others similarly situated,          2Ü17 MIA 1.8 P
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        Plaintiff,                                     CEBRA
                                                                                    jjL.   4J''
                V.                                     HCLE O
                                                                STRJCT At]
                                                         (Class Action)
DAVID COFIELD, in his official capacity
as Randolph County Sheriff,

CHRISTOPHER MAY, in his official
capacity as Circuit Clerk,

JILL PUCK.EIT, in her official capacity
as Magistrate of the Randolph County
District Court, and

CLAY TINNEY, in his official capacity
as the District Court Judge of the Randolph
County District Court,

       Defendants.



                MEMORANDUM IN SUPPORT OF PLAINTIFF'S MOTION
                        FOR CLASS.CERTIFICATION

       This case is about Defendants' wealth-based pretrial detention system that operates to

detain poorer arrestees while letting wealthier arrestees go free. Plaintiff Kandaàe Kay Edwards

is a pretrial arrestee who cannot pay the predetermined, secured money bail that Defendants

require for her release. Plaintiff is therefore being detained solely due to her lack of wealth. On

behalf of the many other arrestees who are or will be subjected to Defendants' wealth-based

pretrial detention scheme, the named Plaintiff challenges in this action Defendants' practice of

conditioning pretrial freedom on money bail set without a prompt release hearing, inquiry into or



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findings concerning ability to pay, or any consideration of nonmonetary alternative conditions of

release..

I.          Proposed Class

            The named Plaintiff proposes to / certif the following Class for the purpose of pursuing

declaratory and injunctive relief: all arrestees who are or who will be jailed in Randolph County

who are unable to pay the secured monetary bail amount required for their release. Every Class

Member suffers the same injury: they are detained solely because they are unable to pay the

money bail amount that Defendants have predetermined for their release.

            The named Plaintiff representing this Declaratory and Injunctive Class is Kandace Kay

Edwards. Ms. Edwards is a 29-year old woman, who lives in Roanoke, Alabama. Edwards

Decl. ¶ 1. She is a mother of two children, who are one and two years old. Id. ¶ 4. She is also

7.5 months pregnant. Id. The pregnancy is high-risk. Id.

            On May 17, 2017, Ms. Edwards was arrested for forging a check in the amount of $75

and charged with possession of a forged instrumentin the second degree, a class C felony. Id. ¶

2; Complaint, attached as Ex. SS to West Decl. She was taken to the Randolph County Jail and

told that she had to pay a $7,500 bond required by the bail schedule or she would remain in jail.

Edwards Dee!. ¶ 3; see also Randolph County Bail Schedule, attached as Ex. A to West Decl. A

corrections officer told her that she has a court date on June 7, 2017 and that she will remain

incarcerated until that date unless she comes up with the money. Id. ¶ 9

            Ms. Edwards is indigent and cannot afford to buy her release from jail. Id. ¶IJ 6, 9. She

has no assets and recently lost 1ier job because her pregnancy made it difficult for her to work.

Id. ¶ 6. Her only source of income is. food stamps. Id. ¶ 7. Ms. Edwards also suffers from

Serious mental illness and is relying on Medicaid to support her through her pregnancy. Id.



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         Ms. Edwards was evicted from her home in December 2016 after losing her job. Id. ¶ 6.

She has been homeless since the eviction and has been staying between friends' homes. Id.

Many of those homes do not have power or running water. Id.

         Ms. Edwards is concerned about her health because her pregnancy is hi gh-risk and she is

currently sleeping on a mat on the floor of the jail. Id. ¶J 4-5.

         The crux of Plaintiff's claims is that Defendants' policy of requiring predetermined and

secured monetary bail for arrestees to obtain release from custody, is unconstitutional because,

without advancing any legitimate objectives, the scheme operates to release or detain arrestees

based solely on their relative wealth. Those with sufficient resources may buy their freedom

immediately; those without must remain in jail, potentially for weeks.

II.      Discussion

         Ms. Edwards requests that the Court certify a class pursuant to Federal Rules of Civil

Procedure 23(a) and (b)(2) for declaratory and injunctive relief. Certification is necessary in this

case because joinder is impracticable. While the precise number of class members is unknown,

Plaintiff seeks relief on behalf of future class members. Further, because this case challenges

Defendants' pretrial detention policies, class membership is inherently transitory. Class

certification is also appropñate because Plaintiffs and each class member's claim centers on the

legality of Defendants' wealth-based, pretrial detention scheme, which jails arrestees without a

determination that they can afford a preset money bail, and without consideration of nonfinancial

conditions of release. Addressing these common issues with respect to the Class is therefore

superior to the piecemeal litigation of individual claims. As discussed below, Plaintiff satisfies

each of the requirements of Fed. R. Civ. P. 23(a) as well as Rule 23(b)(2). See Amchem

Products, Inc. v. Windsor, 521 U.S. 591, 614-15 (1997).




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       A.      The Requirements of Rule 23(a) Are Plainly Satisfied

       Plaintiffs seeking class certification must meet four factors under Rule 23(a):

       (1) the class is so numerous that joinder of all members is impracticable; (2) there
       are questions of law or fact common to the class; (3) the claims or defenses of the
       representative parties are typical of the claims or defenses of the class; and (4) the
       representative parties will fairly and adequately protect the interests of the class.

Fed. R. Civ. P. 23(a). These class action prerequisites, known respectively as numerosity,

commonality, typicality, and adequacy, are each met in this case.

               1.     Nuinerosity

       The numerosity requirement of Rule 23(a) is satisfied where the number of potential

plaintiffs is "so numerous that joinder of all members" of the class would be "impracticable."

Fed. R. Civ. P. 23(a)(1). "Practicability of joinder depends on many factors, including, for

example, the size of the class, ease of identifying its numbers and determining their addresses,

facility of making service on them if joined and their geographic dispersion." Kilgo v. Boman

Transp Inc., 789 F 2d 859, 878 (11th Cir. 1986) Assessing impracticability requires a

"common-sense approach which takes into account the objectives of judicial economy and

access to the legal system." Bradley v. Harrelson, 151 F.R.D. 422, 426 (M.D. Ala. 1993).

"Impracticable does not mean impossible." D. W. by M.J. Poundstone, 165 F.R.D. 661, 670 n.3

(M.D. Ala. 1996).

       There is no fixed size requirement to demonstrate numerosity, but "generally less than

twenty-one is inadequate, more than forty adequate, with numbers between varying according to

other factors." Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986) (citations

omitted); Mullen v. Treasure Chest C'asino, LLC, 186 F.3d 620, 624 (5th Cir. 1999) (citing 1

Newberg on Class Actions § 3.05, at 3-25 (3d ed. 1992)'for the proposition that a class of more

than forty members "should raise a presumption that joinder is impracticable"); Consolidated
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Rail corp: v. Town of Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995) (noting that "nurnerosity is

presumed at a level of 40 members"). "A plaintiff need not show the precise number of

members in the class," Evans v. US. Pipe & Foundry Co., 696 F.2d 925, 930 (11th Cir. 1983),

and "[e]stirnates as to the size of the proposed class are sufficient for a class action to proceed."

Wright v Circuit City Stores, Inc., 201 F.R.D. 526, 537 (N.D. Ala. 2001) (citations omitted).

The Court may also "make 'common sense assumptions' to support a finding of numerosity."

Susan J. v. Riley, 254 F.R.D. 439, 458 (M.D. Ala. 2008) (citing Evans, 696 F.2d at 930). Finally,

"where the numerosity question is a close one, a balance should be struck in favor of a finding of

numerosity, since the court has the option to decertify pursuant to Rule 23(c)(1)." Evans, 696

F.2d at 930.

       Joinder of the proposed Class members is impracticable. A review of Randolph County's

jail logs show that on April 6, 2017 about 40 people were detained on secured money bail, Decl.

of [Micah West] ¶ 47. This number will almost certainly increase, as additional people are

arrested in the future and subjected to Defendants' wealth-based detention scheme. Because the

proposed Class includes future members, traditional joinder is not practicable.

       Moreover, future Class Members will suffer the same injury absent injunctive relief from

Defendants' policy of requiring a predetermined amount of secured money bail. Class relief

targeting Defendants' unconstitutional wealth-based detention scheme is therefore appropriate

because, regardless of the size of the Class, traditional joinder is not practicable. See Moore's

Federal Practice—Civil § 23.22(0 ("Class-action plaintiffs seeking injunctive or declaratory

relief frequently seek to define a class to include people who might be injured in the future.

Courts in these cases often find that joinder of separate suits would be impracticable because

those who have not yet been injured, or who do not know that they have been injured, are
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unlikely to join a lawsuit."); Newberg on Class Actions § 25:4 (4th ed.) ("Even a small class of

fewer than 10 actual members may be upheld if an indeterminate number of individuals are

likely to become class members in the future or if the identity or location of many class members

is unknown for good cause."); see also Kilgo, 789 F.2d at 878 (finding impracticability of non-

class joinder for a class including future members, who necessarily could not yet be identified).

In such cases, the numerosity requirement is satisfied because the putative class seeks

declaratory and injunctive relief against an ongoing policy, a resolution will affect numerous

people in the future, and the composition of the class is fluid and unknown. Jones v. Diamond,

519 F.2d 1090, :1100 (5th Cir. 1975)' (granting liberal construction of numerosity prong in a case

seeking injunctive relief on behalf of future class members because "[t]he general rule

encouraging liberal construction of civil rights class actions applies with equal force to the

numerosity requirement of Rule 23(a)(1)."); see also, e.g., Walker v. City of Calhoun, No. 4:15-

cv-170-HLM, 2016 WL 361580, at *6 (N.D. Ga. Jan. 28, 2016) ("[T]here is a thtUte strearn of

class members who would suffer the same injury absent injunctive relief. Under those

circumstances, the Court agrees with Plaintiff that joinder is impracticable."); Brown v. City of

Barre, No. 5:10CV81, 2010 WL 5141783, at *4 (D. Vt. 2010); J.D. v. Nagin, 255 F.R.D. 4065

414 (E.D. La. 2009); Nicholson v. Williams, 205 F.R.D. 92, 98 (E.D.N.Y. 2001); Goodnight v.

Shalala, 837 F. Supp. 1564, 1582 (D. Utah 1993).

       •Joinder is also impracticable because present membership in the proposed Class is

inherently transitory. As the Supreme Court explained in Gerstein v. Pugh, 420 U.S. 103 (1975)5

"[p]retrial detention is by nature temporary." Id. at 110-11 n. 11. To paraphrase the Court,

 The Eleventh Circuit adopted as binding precedent all of the decisions of the former Fifth
Circuit handed down prior to the close of business on September 30, 1981 See Bonner v City of
Prichard, 661 F.2d 1206 5 1209 (11th Cir. 1981) (enbanc).
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which was addressing mootness for inherently transitory classes, "[i]t is by no means certain that

any given individual, named as plaintiff, would be in pretrial custody long enough" to adjudicate

her personal claims for injunctive relief, a fate likely to befall most members of the class. Id.

Class treatment is thus necessary to prevent the transitory nature of Plaintiffs' claims from

"effectively insulat[ing] defendants' conduct from review." Genesis Healthcare Corp. v.

Symcyk, 133 S. Ct. 1523, 1531 (2013).

       Joinder is also impracticable because the proposed Class members will lack the financial

resources to initiate individual lawsuits, as well as the legal sophistication to initiate this

litigation on their own. The only reason Class members are in jail is because they lack the

financial resources to pay secured money bail. This supports a finding of joinder

impracticability. See Gerardo v. Quong Hop & Co., No. C08-3953JF (PVT), 2009 WL

1974483, at *2 (N.D. Cal. 2009) (certifying class where "potential class members are not legally

sophisticated" making it difficult for them to bring individual claims); Jackson v. Foley, 156

F.R.D. 538, 541-42 (E.D.N.Y. 1994) (finding numerosity and impracticable joinder when the

majority, of class members came from low-income households, greatly decreasing their ability to

bring individual lawsuits); Sherman v. Griepentrog, 775 F. Supp. 1383, 1389 D. Nev. 1991)

(holding, in action brought for injunctive relief challenging Medicaid policy, that j oinder was

impracticable because the proposed. class consisted of poor and elderly or disabled people who

could, not bring individual lawsuits without hardship). Finally, judicial economy Will be

significantly better served by resolving the central factual and legal issues concerning

Defendants' wealth-based bail scheme in one proceeding, as opposed to requiring multiple

proceedings as Defendants continue to detain arrestees based on wealth alone.

               ii. Commonality




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       This case also satisfies Rule 23 (a)(2)' s requirement that "there are questions of law or

fact common to the class." Weekes-Walker v. Macon Cnty. Greyhound Park, 281 F.R.D. 520,

525 (M.D. Ala. 2012). The threshold for satisfying the commonality requirement is "not high."

Groover v. Michelin N Am., Inc., 187 F.R.D. 662, 666 (M D. Ala. 1999) (citation omitted).

       To meet the commonality requirement, there must "be at least one issue whose resolution

will affect all or a significant number of the putative class members." Williams v. Mohawk

Industries, Inc., 568 F.3d 1350, 1355 (11th Cir. 2009) (quoting Stewart v. Winter, 669 F.2d 328,

335 (5th Cir. 1982) (quotations removed)). Traditionally, the Rule asks whether the dispUted

questions are capable of class-wide proof or resolution. Murray v. Auslander, 244 F.3d 807, 811

(11th Cir. 2001). Claims need not be identical to satisfy this requirement, and variations within

the class are permissible. Prado-Steiman v Bush, 221 F.3d 1266, 1279 n.14 (11th Cir. 2000).

By their nature, civil rights cases often easily demonstrate commonality because the defendants'

actions are "central to the claims of all class members irrespective of their individual

circumstances and the disparate effects of the conduct." Baby Neal for & by Kanter v. Casey, 43

F.3d 48, 57 (3d Cir. 1994) (citing 7A Charles A Wright, et al., Fed. Prac. & Proc. § 1763 at 219

(1986)).

       Although there need only be common issues of law or fact under Rule 23(a), this case

presents numerous issues of both law and fact that are common to the Class. Among the most

important common questions of fact are:

           • Whether the Randolph County District Court and Defendant Cofield uses a bail

               schedule created by Defendants May and Tinney;

           • Whether Defendant Cofield releases arrestees from jail who pay the monetary

               amount required by the bail schedule and detains those who cannot;




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           . Whether Defendant Cofield detains all individuals who are unable to pay the

               monetary amount required under the bail schedule regardless of whether inquiry

               into their ability to pay has been made; and

           • Whether and when Defendants Tinney and Puckett conduct individualized release

               hearings and what procedural protections, if any, Defendants Tinney and Puckett

               provide to defendants at those hearings.

Each of these factual questions relates to Defendants' post-arrest procedures for determining

pretrial release in Randolph County.

       Among the most important dispositive common questions of law are:

           . Whether setting a financial condition of pretrial release without inquiry into and

               findings concerning a person's ability to pay, and without consideration of

               alternative conditions of relief, violates the Fourteenth Amendment's Due Process

               and Equal Protection Clauses;

           o Whether Defendants' actions in detaining poor arrestees solely based on their

               inability to pay a predetermined amount of money violates the FoUrteenth

               Amendment's Due Process and Equal Protection Clauses;

           • Whether Defendants' detention of poor arrestees without providing a sufficiently

               prompt release hearing violates the Fotfrteenth Amendment; and

           o Whether Defendants' detention of poor arrestees without conducting an

               individualized release hearing with adequate procedural safeguards violates the

               Fourteenth Amendment.

       This case exemplifies the Supreme Court's explanation of commonality in Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338 (2011). The Court clarified that it is not just the existence of



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hypothetical common questions that justify class treatment. Id. at 349-50. Rather, there must be

common answers that resolve the factual or legal claims presented by the plaintiffs. Id. at 350.

In this case, the answers to the fundamental common questions of fact and law listed above are

dispositive in determining Defendants' liability to all Class members. To illustrate: If

Defendants have a policy and practice of releasing only those arrestees who can afford a fixed

monetary bail imposed on them while detaining those who cannot, then this litigation turns on

whether Defendants' practice of detaining any pretrial arrestee who cannot afford to pay for their

release from jail is unlawful. See Walker, 2016 WL 361580 at *6 (finding that the factual and

legal questions surrounding city's bail policies and practices presented questions common to the

entire class).

        Although there may be factual variations in some details of any Class Member's case,

such as differences in arrest charges, these differences are immaterial to the merits and "will not

defeat the commonality requirement, so long as a single aspect or feature of the claim is common

to all proposed class members." Bynum v. District of Columbia, 214 F.R.D. 27, 33 (D.D.C.

2003); see also Dukes, 564 U.S. at 350 (commonality satisfied if one can resolve an issue central

to Plaintiffs' claims "in one stroke."). The claims raised by the Class Members are independent

of issues like specific arrest charges; instead, the claims are based primarily on the longstanding

principle that a person cannot be jailed for prolonged periods of time simply due to wealth.

                 iii.   Typicality

        Because the named Plaintiffs claims are identical to the claims of all Class Members,

Rule 23(a)(3)'s "typicality" requirement is met. Under Rule 23(a)(3), "a class representative

must be part of the class and 'possess the same interest and suffer the same injury' as the class

members." East Texas Motor Freight Sys. Inc. v. Rodriguez, 97 S. Ct. 1891, 1896 (1977)




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(quoting Schlesinger v. Reservists Committee to Stop the War, 431 U.S. 395, 403 (1974)).

"Typicality, however, does not require identical claims or defenses." Kornberg v. Carnival

Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984). Rather, "typicality measures whether a

sufficient nexus exists between the claims of the named representatives and those of the class at

large." Prado-Steiman, 221 F.3d at 1279. "A sufficient nexus is established if the claims or'

defenses of the class and the class representative arise from the same event or pattern or practice

and are based on the same legal theory." Kornberg, 741 F.2d at 1337; see also,e.g., Hardy v.

District of Columbia, 283 F.R.D. 20, 25 (D.D.0 2012) (typicality requires only that "the class

representatives have suffered injuries in the same general fashion as absent class members");

Moore's Federal Practice - Civil § 23.24 ("Because the claims need only share the same essential

characteristics and need not be identical, courts have concluded that the typicality requirement is

not highly demanding.").2

       Here, the named Plaintiff's legal claims are the same as the legal claims of the other

members of the proposed Class. The named Plaintiff and Class Members are all injured in the

same way: they are detained because they are unable to afford a predetermined amount of

secured money bail that Defendants require as a condition for pretrial freedom. The named

Plaintiff is threatened with the same ongoing and future injury as the Class: confinement in jail

because of the inability to pay an arbitrary amount of money. See Newberg on Class Actions

§ 23:4 (4th ed.) ("[T]he typicality requirement is generally satisfied when the representative

plaintiff is subject to the same statute, regulation, or policy as class members."). The claims of

2 The typicality and commonality requirements of Rule 23(a) "serve as guideposts for
determining whether under the particular circumstances maintenance of a class action is
economical and whether the named plaintiff's claim and the class claims are so interrelated that
the interests of the class members will be fairly and adequately protected in their absence"
Prado-Steiman, 221 F.3d at 1279 (quotations omitted).



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the named Plaintiff also rely on the same legal theories as the claims of all other Class members

concerning whether Defendants' wealth-based detention scheme is unconstitutional. See James

v. City of Dallas, Tex., 254 F.3d 551, 571 (5th Cir. 2001) ("If the claims arise from a similar

course Of conduct and share the same legal theory, factual differences will not defeat typicality.")

(quotations omitted), abrogated on other grounds by In re Rodriguez, 695 F.3d 360 (5th Cir.

2012). The proof concerning whether Defendants engage in those policies and the legal

argument about whether those policies are unlawful are critical for each Class member in this

case to establish the liability of Defendants. See Walker, 2016 WL 361580 at *7 (finding

typicality requirement satisfied in case where plaintiff sought to represent class of arrestees

unable to pay for their release as a result of an arrest because plaintiffs claims arose out of the

same conduct as the class's claims, his claims are the same as those of the proposed class, and he

was injured in the Same way as other class members).

       Thus, if the named Plaintiff succeeds in proving that Defendants' policies and practices

concerning pretrial detention as alleged in the Complaint are unlawful, then that ruling will

necessarily benefit every other member of the Class. That is the essence of Rule 23(a)'s

typicality requirement.

               iv.        Adequacy

       The Class representative will "fairly and adequately protect the interests of the class."

Fed. R. Civ. P. 23(a)(4). The adequacy analysis "encompasses two separate inquiries: (1)

whether any substantial conflicts of interest exist between the representatives and the class; and

(2) whether the representatives will adequately prosecute the action." Valley Drug Co. V.

Geneva Pharm., Inc., 350 F.3d 1181 3 1189 (11th Cir. 2003) (citation omitted).

       Regarding the first inquiry, the named Plaintiff is an adequate representative of the Class




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because her interests in the vindication of the legal claims that she raises are completely aligned

with the interests of the other Class Members. She is a member of the Class, and her interests

coincide with, and are not antagonistic to, those of the other Class Members. The named

Plaintiff, like other Class Members, h as a strong interest in no longer being detained unlawfully.

There are no known conflicts of interest among Members of the proposed Class, all of whom

have a similar interest in vindicating their constitutional rights in the face of their unlawful

treatment by Defendants.

       B.      The Requirements of Rule 23(b) Are Met.

        A putative class action must also meet the requirements of either Rule 23(b)(1), Rule

23(b)(2), or Rule 23(b)(3). 3 Rule 23(b)(2) provides for class certification when "the party

opposing the class has acted or refused to act on grounds th4t apply generally to the class, so that

final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

whole." Fed. R. Civ. Pro. Rule 23(b)(2); Susan J. v. Riley, 254 F.R.D. 439, 462 (M.D. Ala.

2008). The term "generally applicable" does not require "that the party opposing the class.

act directly against each member of the class." Anderson v. Garner, 22 F. Supp. 2d 1379, 1386

  At least with respect to a Damages Class under Rule 23(b)(3) (which Plaintiff does not seek
here), courts have held that "ascertainability" is, in essence, a fifth Rule 23 prerequisite A class
must be "adequately defined and clearly ascertainable." DeBremaecker v. Short, 433 F.2d 733,
734 (5th Cir. 1970). "In other words, the class must meet a minimum standard of definiteness
which will allow the trial court to determine membership in the proposed class," although " [i]t
is not necessary that' the members of the class be so clearly identified that any member can be
presently ascertained." Earnest v. GMC, 923 F. Supp. 1469, 1473 & n.4 (N.D. Ala. 1996)
(quoting Carpenter v. Davis, 424 F.2d 257, 260 (5th Cir. 1970)).
        Although it is doubtful that such a requirement should exist with respect to a purely
injunctive class under Rule 23(b)(2), see, e.g., Marcus v. BMW of N. Am., LLC, 687 F.3d 583,
592-93 (3d Cir. 2012) (noting that the rule has been applied to Rule 23(b)(3) damages classes),
that requirement is easily met here Defendants already have in their possession the identity of
each and every person who they are keeping in custody after an arrest because of the inability to
post a cash bond. Also, by necessity, Defendants will come to know the identity of each future
arrestee.



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(N.D. Ga. 1997) (quotation and citation omitted). Rather, the key is whether the defendants'

actions "would affect all persons similarly situated so that [their] acts apply generally to the

whole class." Id.

       This case falls squarely within this requirement of the appropriateness of declaratory or

injunctive relief to the class as a whole, because Defendants have created and applied a uniform

we.h-based detention scheme: Defendants demand money bail from every arrestee as a

requirement for pretrial freedom. The Sheriff immediately releases those arrestees wealthy

enough to pay and detains those arrestees too poor to pay.

       The Class therefore seeks declaratory and injunctive relief to enjoin Defendants from

continuing in the future to enforce their policy of conditioning post-arrst freedom on access to

money. The relief sought—an order declaring Defendants' money bail practices unconstitutional

and an injunction and judgment preliminarily and permanently enjoining the Sheriff from

enforcing those unconstitutional policies—would apply equally to the entire Class. In other

words, the current practices are unconstitutional, and any new lawful policies and procedures

would have to be applied by Defendants in a consistent way to all arrestees. Because the

putative Class challenges Defendants' wealth-based detention practices as unconstitutional,

declaratory and injunctive relief would apply the same relief to every member of the Class, so

Rule 23(b)(2) is appropriate and necessary. See, e.g., In re Veneman, 309 F.3d 789, 792 (D.C.

Cit. 2002) ("Rule 23(b)(2) certification is appropriate Where plaintiffs seek declaratory or

injunctive relief for class-wide injury."). 4 As the Supreme Court explained recently:



  Rule 23(b)(2) arose out of experience "in the civil rights field," Amchem, 521 U.S. at 614
(citation omitted), in which the government typically treats a whole class in an unconstitutional
manner based on law or government policy. "Rule 23(b)(2) was promulgated in 1966 essentially
as a tool for facilitating civil rights actions. " Moore's Federal Practice § 2143; see also Newberg



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        When a class seeks an indivisible injunction benefitting all its members at once,
        there is no reason to undertake a case-specific inquiry into whether class issues
        predominate or Whether class action is a superior method of adjudicating the
        dispute. Predominance and superiority are self-evident.

Dukes, 564 U.S. at 362-63. A declaration and an injunction stating that Defendants cannot use

money bail to keep poor a1restees in jail and free wealthy arrestees without any inquiry into or

findings concerning their ability to pay would provide relief to every member of the Class. See

Holmes v. Continental Can Co., 706 F.2d 1144, 1155 (11th Cir. 1983) (Rule 23(b)(2) applies to

"claims resting on the same grounds and applying more or less equally to all members of the

class.").

        As the simple relief requested in this case makes clear, the requirements of Rule 23(b)(2)

are satisfied because "the predominant relief sought is injunctive or declaratory." Allison v.

Citgo Petroleum Corp., 151 F.3d 402, 411 (5th Cir. 1998) Baby Neal v. Casey, 43 .F.3d 48, 58

(3d Cir. 1994) (The requirements of Rule 23(b)(2) are "almost automatically satisfied in actions

primarily seeking injunctive relief' for common legal claims.); see also Assn for Disabled Am.,

Inc. v. Amoco Oil Co., 211 F.R.D. 457, 465 (S.D. Fla. 2002) (finding class certification

appropriate when "the Class Plaintiffs sought exclusively injunctive relief based on their

allegations").

        Certification of the Injunctive Class under Rule 23(b)(2) is merited because the named

Plaintiff and Class Members are all people who currently or imminently face jailing because of

Defendants' ongoing wealth-based detention practices and who, absent the relief that they seek,



on Class Actions § 1:3 (5th ed.) ("Rule 23(b)(2) authorizes a class action when a patty has taken
Or refused to take action with respect to a class, and final injunctive relief or corresponding
declaratory relief is appropriate with respect to the class as a whole. This category is typically
employed in civil rights cases and other actions not primarily seeking money damages The
(b)(2) class action is often referred to as a 'civil rights' or 'injunctive' class suit.").



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will be subjected to a flagrantly unconstitutional set of practices, policies, and procedures.

        C.      Undersigned Counsel Satisfy the Requirements of Rule 23(g).

        The Plaintiff and proposed Class are represented by attorneys from. Civil Rights Corps,

the American Civil Liberties Union, and the Southern Poverty Law Center who have experience

litigating complex civil rights matters in federal court and extensive knowledge of both the

details of unlawful money bail practices and the relevant constitutional law. Alec Karakatsanis

Deci. ¶IJ 1-5; Brandon Buskey Deci. ¶J 4-5; Samuel Brooke Dec1.J 4-6. Class Counsel have

conducted an extensive investigation into the operation of Defendants' wealth-based detention

practices. Buskey Deci. ¶ 6; Brooke Decl. ¶ 8. Class counsel have studied the way that these

systems function in other jurisdictions in order , to investigate the wide array of reasonable

constitutional options in practice. Karakatsanis Deci. ¶J 4, 6; Buskey Deci. ¶ 5; Brooke Deci. ¶

7. In sum, Class Counsel, have devoted substantial resources to becoming familiar with

Defendants' wealth-based detention practices and with the state and federal laws and procedures

that govern Plaintiffs ? claims.

        Moreover, the attorneys representing Plaintiff and the putative Class are experienced in

handling class action and civil rights litigation and have particular knowledge of, and experience

in, litigating legal claims concerning unlawful policies and practices in court systems. See

Karakatsanis Deci. ¶IJ 4-5; Buskey Deci. ¶J 4-5; Brooke Decl. ¶J 4-6. In addition, Class counsel

has sufficient financial and human resources to litigate this matter. Karakatsanis Deci. IN 7;

Buskey Dec!. ¶ 7; Brooke Dec1 ¶ 9. In suni, Plaintiff's attorneys are experienced advocates;

possess "sufficient vigor" along with sufficient resources, to adequately represent the Class and

prosecute this action; and are appropriate counsel for the matter. See Kirkpatrick v. IC.

Bradford & Co., 827 F.2d 718, 726 (11th Cir. 1987) (citations omitted).




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III.   Conclusion

       For the reasons stated above, the named Plaintiff respectfully asks this Court to certify
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the declaratory and injunctive Class described in this Motion.

Dated: May 18, 2017.                  Respectfully submitted,


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                                      On behalf ofAttorneys for Plaintiff

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                         Admission pending
                        *Admission pro hac vice pending
                        Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that arrangements have been made to, on this date, deliver a true and

correct copy of the foregoing by hand delivery to the following at the below addresses:

       David Cofield, Sheriff                             Hon. Jill Puckett, Magistrate
       Randolph County Sheriffs' Office                   Randolph County District Court
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

       Christopher May, Cjr cuit Clerk                    Hon. Clay Tinney, Judge
       Randolph County Circuit Court                      Randolph County District Court
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

Formal proof of service will be filed with the Court when completed.

       I further certify that arrangements have been made to, on this date, deliver a true and

correct courtesy copy of the foregoing by hand delivery and by electronic mail to the following:

       James W. "Jim" Davis, Section Chief                Jamie H. Kidd
       Constitutional Defense Section                     J. Randall McNeill
       Office of the Attorney General                     WEBB & ELEY, P.C.
       501 Washington Avenue                              P.O. Box 240909
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                                                          E: rmcneill@webbeley.com
       John Alvin Tinney
       Randolph County Attorney
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on this May 18, 2017.


                                     Samuel Brooke




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